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COUNSEL FOR PLAINTIFFS AND
REORGANIZED DEBTORS


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 In re:
 ACIS CAPITAL MANAGEMENT, L.P.,                       §   Case No. 18-30264-SGJ-11
 ACIS CAPITAL MANAGEMENT GP,                          §   Case No. 18-30265-SGJ-11
 LLC,                                                 §
                                                      §   (Jointly Administered Under Case
          Debtors.                                    §   No. 18-30264-SGJ-11)
                                                      §
                                                      §   Chapter 11

 ACIS CAPITAL MANAGEMENT, L.P.,                       §
 ACIS CAPITAL MANAGEMENT GP,                          §
 LLC, Reorganized Debtors,                            §   Adversary No. 20-03060-SGJ
                                                      §
          Plaintiffs,                                 §
                                                      §
 vs.                                                  §
                                                      §
 JAMES DONDERO, FRANK                                 §
 WATERHOUSE, SCOTT ELLINGTON,                         §
 HUNTER COVITZ, ISAAC LEVENTON,                       §
 JEAN PAUL SEVILLA, THOMAS                            §
 SURGENT, GRANT SCOTT, HEATHER                        §
 BESTWICK, WILLIAM SCOTT, AND                         §
 CLO HOLDCO, LTD.,                                    §
                                                      §
           Defendants.                                §

                                  AMENDED NOTICE OF HEARING
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       Please take notice that a hybrid hearing will be conducted before the Court on January 26,

2023, at 2:30 p.m. regarding Plaintiffs’ Motion to Compel Compliance with Subpoena in Judge

Jernigan’s courtroom and at https://us-courts.webex.com/meet/jerniga. Highland Capital

Management, L.P. intends to appear remotely, and Acis Capital Management, L.P. and Acis

Capital Management GP, LLC does not oppose.

       Please also take notice that Highland Capital Management L.P.’s counsel has agreed to

accept service via email of Acis’ Motion to Compel Compliance with Subpoena and the Amended

Notice of Hearing. The parties have also agreed that Highland Capital Management L.P.’s

response to the Motion shall be due on January 13, 2023.

Dated: December 29, 2022                    Respectfully submitted,

                                            /s/ Shawn Bates________
                                            Joseph Y. Ahmad
                                            Texas Bar No. 00941100
                                            Federal Bar No. 11604
                                            Shawn M. Bates
                                            Texas Bar No. 24027287
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                                            REORGANIZED DEBTORS




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 29, 2022 that this document was electronically served to
the parties registered or otherwise entitled to receive electronic notices in this adversary proceeding
pursuant to the Electronic Filing Procedures in this District. I also certify that this notice was served
via e-mail on Highland Capital Management, L.P.’s counsel.

                                                /s/ Christian Adriatico
                                                Christian Adriatico




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